                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 MARGARET CZERWIENSKI,
 LILIA KILBURN, and AMULYA
 MANDAVA

            Plaintiffs,
   v.                                                         CASE NO. 1:22-cv-10202-JGD

 HARVARD UNIVERSITY AND THE
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE

                           Defendants.

        DEFENDANT’S MOTION FOR LEAVE TO FILE UNDER SEAL
   ATTACHMENTS TO MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

        Pursuant to Local Rule 7.2, Defendant President and Fellows of Harvard College

(“Harvard”) hereby moves for leave to file under seal three documents in support of its Motion to

Dismiss to be filed today, July 19, 2022. These documents contain certain confidential and

private information about parties and non-parties, and each document contains records protected

against disclosure by the Family Educational Rights and Privacy Act (“FERPA”).

                                         BACKGROUND

        Plaintiffs are three Harvard graduate students in the Anthropology Department, who filed

their Complaint in this Court on February 8, 2022, and an Amended Complaint (“Am. Compl.”)

on June 21, 2022. Dkt. Nos. 1, 35.

        Plaintiffs’ Amended Complaint claims that when Plaintiffs raised concerns about Harvard

faculty member John Comaroff, Harvard did not take meaningful steps to address them.

Throughout the Amended Complaint, Plaintiffs discuss and rely on the investigations of

Harvard’s Office of Dispute Resolution (“ODR”) in their complaints, including repeatedly

referencing three ODR Final Reports. See, e.g., Am. Compl. ¶¶ 15 n.11, 62, 67, 171, 184, 303-

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10, 312, 317. These reports are therefore “incorporated into the complaint by reference,” and the

Court may properly consider them on a motion to dismiss. Tellabs, Inc. v. Makor Issues &

Rights, Ltd., 551 U.S. 308, 322 (2007); see Routh v. Univ. of Rochester, 981 F. Supp. 2d 184,

191 (W.D.N.Y. 2013) (considering university’s written findings in granting motion to dismiss in

action for Title IX and negligence action where documents “were incorporated by reference [in

the complaint] and since [the plaintiff] obviously possessed them and relied on them in drafting

[the complaint]”). All three ODR Final Reports contain sensitive nonpublic information about

the Plaintiffs, Harvard faculty, and Harvard student witnesses.

        Accordingly, Harvard moves to submit under seal the three ODR Final Reports.

                                             ARGUMENT

        Pursuant to Federal Rule of Civil Procedure 12(b)(6), Harvard is filing a Motion to

Dismiss Counts One through Nine of the Amended Complaint, together with a Memorandum in

Support thereof. The Memorandum attaches the three ODR Final Reports, which Plaintiffs cite

throughout the Complaint. See, e.g., Am. Compl. ¶¶ 15 n.11, 62, 67, 171, 184, 303-10, 312, 317.

        Pursuant to Local Rule 7.2, confidential information or materials submitted with court

filings may be sealed or otherwise restricted from public access upon a showing of good cause.

The trial court has discretion to maintain documents under seal where the privacy interests

outweigh the general public’s interest in access to judicial records. In re Boston Herald, 321

F.3d 174, 190–91 (1st Cir. 2003); see Murray v. Wal-Mart Stores, Inc., No. 2:15-cv-00484-DBH,

2019 U.S. Dist. LEXIS 176974, at *3 (D. Me. Oct. 11, 2019) (While in general there is a “strong

presumption that judicial records are open to the public . . . . The right of public access to judicial

records is not absolute, and ‘it is within a court’s discretion to curtail’” it.).

        Here, “good cause” exists to seal the three ODR Final Reports because they reveal highly

personal, confidential, and sensitive information about the Plaintiffs, as well as personally-


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identifying information and confidential material concerning other witnesses who were

interviewed or involved with the ODR investigations. See L.R. 7.2. Although the Plaintiffs, by

filing suit, have waived certain FERPA protections, those protections continue in force for other

individuals discussed in the Reports. Indeed, ODR interviewed dozens of witnesses in

connection with Plaintiffs’ investigations, and those individuals spoke with ODR voluntarily

(given that ODR lacks subpoena power to compel witnesses’ testimony). Consequently,

revealing the full Final ODR Reports may deter other student and witness participation in

Harvard’s Title IX investigatory processes. See DeCosta v. Chabot, Civ. Action No. 92–425–M,

1994 WL 279739, at *2 (D.N.H. June 9, 1994) (granting motion to seal abuse investigation

records as supporting exhibits to a dispositive motion, in part to “encourage [future] reports and

to protect the reporters”).

          Further, Harvard places a high value on the confidentiality of ODR’s investigations and

imposes an expectation of confidentiality on all participants therein. As stated in the Sexual and

Gender-Based Harassment Policy and Procedures for the Faculty of Arts and Sciences:

      The ODR, personal advisors, and others at the University involved in or aware of the
      complaint will take reasonable steps to protect the privacy of all involved. Once a
      complaint is filed, the Complainant or Reporter, the Respondent, and any witnesses
      will be notified of the potential for compromising the integrity of the investigation by
      disclosing information about the case and the expectation that they therefore keep such
      information – including any documents they may receive or review – confidential. They
      also will be notified that sharing such information might be construed as retaliatory.
      Retaliation of any kind is in itself a separate violation of this Policy and may lead to an
      additional complaint and consequences.
      The parties remain free to share their own experiences, other than information that they
      have learned solely through the investigatory process; though, to avoid the possibility
      of compromising the investigation, it is generally advisable to limit the number of
      people in whom they confide.1

          For the foregoing reasons, and consistent with decisions permitting sealing of such


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    https://www.fas.harvard.edu/files/fas/files/fas_p_and_p_combined_2014_2020.pdf?m=1600459885.



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records in other matters in this District, Harvard requests that this Court allow it to file the ODR

Final Reports under seal. See Doe v. Harvard University, et al., Civ. Action No. 1:18-cv-12150-

IT, Dkt. No. 25 (permitting Harvard to file ODR Report under seal); Leader v. Harvard

University Board of Overseers, et al., Civ. Action No. 1:16-cv-10254-DJC, Dkt. No. 21 (same). 2

                                                CONCLUSION

        For the reasons set forth above, Harvard respectfully requests that this Court issue an

Order permitting it to file under seal the three ODR Final Reports of the investigations into the

Plaintiffs’ complaints.

                                                              Respectfully submitted,

                                                              PRESIDENT AND FELLOWS OF
                                                              HARVARD COLLEGE,

                                                              By its attorneys,


/s/ Victoria Steinberg                                     /s/Martin F. Murphy ___________
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Dated: July 19, 2022

                                                           Attorneys for Defendant,
                                                           President and Fellows of Harvard College


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  Plaintiffs’ arguments that these motions were assented-to is unavailing. The fact they were assented to does not
undermine the Courts’ appropriate findings in those cases that privacy interests in the material to be sealed—which
is identical in nature to the material at issue here—outweighed the public’s interest in access to the information
therein.



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                             LOCAL RULE 7.1 CERTIFICATION
       I hereby certify that, pursuant to Local Rule 7.1(a)(2), counsel for Defendants met and
conferred with counsel for Plaintiffs on July 15, 2022. Counsel for Plaintiffs indicated that they
oppose the relief sought herein.


                                                     /s/ Victoria Steinberg
                                                     Victoria Steinberg



                                CERTIFICATE OF SERVICE
        I, Rachel C. Hutchinson, hereby certify that a copy of the foregoing was sent via the Court’s
electronic filing system and served to all counsel of record on July 19, 2022.


                                                     /s/ Rachel C. Hutchinson
                                                     Rachel C. Hutchinson




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